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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


DONALD J. TRUMP; THE TRUMP
ORGANIZATION, INC.; TRUMP
ORGANIZATION LLC; THE TRUMP
CORPORATION; DJT HOLDINGS LLC;
THE DONALD J. TRUMP REVOCABLE
TRUST; and TRUMP OLD POST OFFICE
LLC,

                                Plaintiffs,

        v.                                                Case No. 1:19-cv-01136-APM

MAZARS USA LLP,

                                Defendant,

COMMITTEE ON OVERSIGHT AND
REFORM OF THE U.S. HOUSE OF
REPRESENATIVES,

                    Intervenor-Defendant.


                                   NOTICE OF APPEARANCE

        I, Josephine Morse, hereby enter my appearance as counsel in the above-captioned case

for the Committee on Oversight and Reform of the U.S. House of Representatives. Please send

all future notices in this matter to me.




                                              Respectfully submitted,

                                              /s/ Josephine Morse
                                              JOSEPHINE MORSE (D.C. Bar No. 1531317)
                                                Associate General Counsel




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                                   Oversight and Reform of the U.S. House of
                                   Representatives

May 14, 2019




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                                CERTIFICATE OF SERVICE

       I certify that on May 14, 2019, I caused the foregoing document to be filed via this

Court’s CM/ECF system, which I understand caused service on all registered parties.



                                                    /s/ Josephine Morse
                                                    Josephine Morse
